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                     EXHIBIT 7
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                     EXHIBIT 8
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                     EXHIBIT 9
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                     EXHIBIT 10
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                        EXHIBIT 11
                                                                                                                                                            Jazz Pharmaceuticals, Inc. v.
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                                                                            29853  CNS Pharmaceuticals LLC


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                                                                     Sleep Medicine 75 (2020) 497-501                                                                 21-1594 (GBS)




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 Review Article

The sodium in sodium oxybate: is there cause for concern?
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ARTICLE INFO                                           ABSTRACT

Article history:                                       Sodium oxybate (SO), the sodium salt of y-hydroxybutyric acid, is one of the primary pharmacologic
Received 10 August 2020                                agents used to treat excessive sleepiness, disturbed nighttime sleep, and cataplexy in narcolepsy. The
Accepted 17 September 2020                             sodium content of SO ranges from 550 to 1640 mg at 3-9 g, given in two equal nightly doses. Clinicians
Available online 21 September 2020
                                                       are advised to consider daily sodium intake in patients with narcolepsy who are treated with SO and
                                                       have comorbid disorders associated with increased cardiovascular (CV) risk, in whom sodium intake may
 Keywords:                                             be a concern. It remains unclear whether all patients with narcolepsy treated with SO should modify or
 Sodium oxybate
                                                       restrict their sodium intake. No data are currently available specific to the sodium content or threshold of
 Narcolepsy
 Cardiovascular risk
                                                       SO at which patients might experience increased CV risk. To appraise attributable risk, critical evaluation
 Dietary sodium                                        of the literature was conducted to examine the relationship between Cl/ risk and sodium intake, nar-
                                                       colepsy, and SO exposure. The findings suggest that increased CV risk is associated with extremes of daily
                                                       sodium intake, and that narcolepsy is associated with comorbidities that may increase CV risk in some
                                                       patients. However, data from studies regarding SO use in patients with narcolepsy have shown a very low
                                                       frequency of CV side effects (eg, hypertension) and no overall association with CV risk. In the absence of
                                                       data that specifically address Cl/ risk with SO based on its sodium content, the clinical evidence to date
                                                       suggests that SO treatment does not confer additional Cl/ risk in patients with narcolepsy.
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 1. Introduction                                                                         levels <2300 mg/d [19). However, substantive evidence to support
                                                                                         the health benefit rationale behind this universal reduction is
     There are substantial data confirming the clinical efficacy and                     lacking (17,20-22). Moreover, less than 5% of the population con-
 favorable safety profile of sodium oxybate (SO) in patients with                        sumes sodium at or below this threshold-the average daily so-
 narcolepsy [1-14 ]. "Practice Parameters for the Treatment of Nar-                      dium intake in the US population is 3600 mg/d-and CV risk has
 colepsy and other Hypersomnias of Central Origin," an American                          been associated with much higher sodium levels than these rec-
 Academy of Sleep Medicine report, designate SO as a standard of                         ommended guidelines (>6000 mg/d) (23,24).
 care for the treatment of cataplexy and disturbed nighttime sleep                          The clinical implications of sodium intake among patients with
 based on level 1 evidence [15).                                                         narcolepsy treated with SO have not been established. Prescribers
     The sodium content of SO at approved nightly doses of 3, 4.5, 6,                    of SO are advised to consider daily sodium intake in patients with
 7.5, and 9 g is 550, 820, 1100, 1400, and 1640 mg, respectively [ JG).                  narcolepsy who have disorders associated with increased CV risk,
 The US Food and Drug Administration-recommended SO dose is                              including heart failure, hypertension, or impaired renal function
 6-9 g/d, and approximately one third of patients are treated at the                     (16,25). Questions remain about the need for calibration of sodium
 highest dose of 9 g nightly (4,6,16].                                                   intake in narcolepsy management with SO and whether patients
     Current data do not support a causal relationship between di-                       receiving SO and their physicians should be mindful of its sodium
 etary sodium intake and cardiovascular (CV) risk in those with                          content (26). This review examines relevant literature for evidence
 normal blood pressure (17,18). Many authoritative agencies                              on CV risk in relation to daily sodium intake and narcolepsy, as well
 recommend nearly universal reduction in daily sodium intake to                          as CV risk in the setting of SO treatment in patients with narcolepsy.

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                                                                              evidence suggests that optimal health outcomes are achieved when
   Abbreviations                                                              sodium intake is maintained between 3000 and 6000 mg/d, which
                                                                              is the range consumed by roughly 80% of Americans (24,36).
   AE      adverse event
   BP      blood pressure                                                     3.2. Narco/epsy and cardiovascular risk
   CPAP    continuous positive airway pressure
   CV      cardiovascular                                                         Heterogeneous data reported across various geographic regions
   DC      discontinuation                                                    have identified an increased prevalence of CV and cardiometabolic
   EKG     electrocardiogram                                                  comorbidities in patients with narcolepsy (37-40). Compared with
   MSNA    muscle sympathetic nerve activity                                  matched controls, patients with narcolepsy have been found to
   NR      not reported                                                       have an increased risk for "heart diseases" (odds ratio [OR), 2.1, 95%
   NTl     narcolepsy type 1                                                  CI, 1.2-3.5; mean age, 46 years) and "diseases of the circulatory
   NT2     narcolepsy type 2                                                  system" (OR, 2.6, 95% CJ, 2.5-2.8; mean age, 40 years) [37,39).
   OR      odds ratio                                                         Specific CV diagnoses that have been reported to be more prevalent
   OSA     obstructive sleep apnea                                            in patients with narcolepsy include stroke, myocardial infarction,
   RCT     randomized, placebo-controlled trial                               cardiac arrest, heart failure, hypertension, and hyperlipidemia
   SO      sodium oxybate                                                     (37,39). Obesity and diabetes have been found to be twice as
   US XMSG US Xyrem Multicenter Study Group                                   prevalent in patients with narcolepsy (OR, 2.3, 95% CJ, 2.1-2.5; OR,
   XISG    Xyrem International Study Group                                    1.8, 95% CI, 1.7-1.8, respectively; mean age, 46 years) [37]. In
                                                                              addition, obstructive sleep apnea (OSA) has been observed to be
                                                                              much more common in patients with narcolepsy, with an OR of 18.7
                                                                              (95% CI, 17.5-20.0; mean age, 46 years) compared with matched
2. Methods                                                                    controls [37]. Only one study has looked at the evolution of
                                                                              comorbidities over time in patients with narcolepsy (38). It was
    A literature search was performed in the National Institutes of           found that over a 14-month observation period, endocrine/meta-
Health/National Library of Medicine PubMed database (llttps://                bolic comorbidities remained more prevalent, whereas prevalence
www.ncbi.nlm.nih.gov/pubmed) using the following search                       of CV comorbid conditions, such as hypertension and hyperlipid-
strings: relationship between dietary sodium intake and CV                    emia, decreased to that of matched controls [38]. No study has
morbidity and mortality ([sodium OR salt] AND [cardiovascular                 directly looked at how treatment with SO affects comorbidity
disease OR cardiovascular mortality OR cardiovascular risk]); CV              prevalence.
risk factors in patients with narcolepsy ([narcolepsy] AND                        Interactions between the orexin/hypocretin system, appetite,
[comorbidities]) and ([ narcolepsy] AND [cardiovascular risk]); CV            energy expenditure, CV autonomic function, and sleep are complex
risks associated with sodium oxybate ([sodium oxybate] AND                    [41 ]. Increased prevalence of CV and cardiometabolic comorbidities
[cardiovascular]) and ([sodium oxybate] AND [safety] AND [adverse             in narcolepsy may be linked to the neuropathophysiology of orexin/
events]). The search was limited to studies published in English and          hypocretin deficiency [42-48). Metabolic dysfunction in patients
in human subjects. Bibliographies of review articles and meta-                with narcolepsy appears to be independent of body mass index,
analyses identified through these searches were also examined                 and CV autonomic dysfunction has been documented in patients
for further pertinent sources. Data were included regardless of               with narcolepsy type 1 (NTl ), including blunted nocturnal dipping
publication date up until June 2020. A total of 557 articles were             in BP, reduced cardiac vagal modulation, reduced cardiac baroreflex
identified, 102 of which were deemed relevant for consideration of            sensitivity, blunted negative heart period trough, decreased sym-
inclusion. After careful review of the information included in each           pathetic activation during sleep, and decreased muscle sympa-
of these articles, data from 64 were identified to be of specific             thetic nerve activity (MSNA) (39,42,45,46,49]. Although much
relevance for the topic and are included.                                     emphasis has been placed on the nocturnal "non-dipping"
                                                                              phenotype (defined by a BP decrease of <10% during nighttime
3. Results                                                                    sleep) in patients with narcolepsy as a predictor of mortality in the
                                                                              general population, the clinical significance of these findings and/or
3.1. Sodium, blood pressure, and cardiovascular 1isl<                         their contribution to CV risk in this population of patients is unclear
                                                                              and conflicting [42,50]. Additionally, ambulatory BP has been
   Sodium intake is associated with risk of hypertension and car-             observed to be lower in patients with narcolepsy during wakeful-
diovascular outcomes, particularly stroke and myocardial infarc-              ness than in control subjects [51].
tion, independent of blood pressure (BP) (27,28]. A number of
organizations have recommended that all adults limit sodium                   3.3. Sodium oxybate and cardiovascular risl< in patients with
intake to <2300 mg/d [ 19,26,29,30). The rationale is that this could         narcolepsy
hopefully reduce these CV risks, and not only for older individuals
or those with comorbidities, but for apparently healthy persons as                In more than two decades of SO use, neither the sodium content
well [ 19,26,29,30]. However, there is no empiric evidence that               nor any CV risk associated with the sodium content of SO has been
reducing sodium intake will reduce CV disease or otherwise                    established or identified as a therapeutic concern. In clinical trials
improve health outcomes. The Institute of Medicine and the US                 to date, there were no noted differences in BP between SO treat-
Agency for Healthcare Research and Quality acknowledge that                   ment and placebo (1,l0,12,13,16], There is only one published record
there is a lack of evidence to support the theory that reducing daily         of small increases in BP and MSNA 6 months after initiation of SO
sodium intake to guideline levels reduces CV-related negative                 (6 g) in a case series of two subjects (52). In the absence of any
health outcomes (31,32]. Sodium, like most dietary nutrients, does            noted BP changes from SO studies, adverse event (AE) data from
not follow a linear but rather a J-shaped relationship to worsening           clinical trials can be used to assess CV risk. Randomized, controlled,
health outcomes (33,34). Risk of CV disease is increased when so-             open-label, and long-term observational studies in the real world
dium intake is <3000 or >6000 mg/d (18,35). In sum, available                 and clinical settings, as well as in postmarketing surveillance
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Table 1
Cardiovascular system adverse events reported in patients treated with sodium oxybate for narcolepsy: Published safety data.
  Study                       Type of Study (N)                             CV System Event            Patients with   Related to Study    Serious, Y/N   Led to DC, Y/N
                                                                                                       Event. n (%)    Drug, Y/N
  us XMSG, 2002 (1]           RCT (n = 136 adults)                          None reported
  US XMSG, 2004 (10]          RCT withdrawal (n 55 adults)                  None reported
  XlSG, 2005 [12]             RCT (n = 228 adults)                          None reported
  XlSG, 2005 [13]             RCT (n = 228 adults)                          None reported
  US XMSG, 2003 (3]           Open-label, 12-week extension (n = 118        Recurrent chest pain       1 (0.9)         N                   y              y
                              adults)                                       with normal EKG
  Mamelak et al., 2015 (6]    Open-label, 12-week (n = 202)                 None reported
  Drakatos et al., 2017 [4]   Obse1vational, 6-year retrospective single-   Hypertension               1 (1.1)         NR                  NR             y
                              center (n = 90)                               "Palpitations"             1 (1.1)         NR                  NR             y
  Mayer et al., 2018 [7]      Post-authorization, 10-year smveillance       Hypertension               3(0.4)          NR                  N              y
                              (n = 730)"                                    Angina pectoris            2 (0.3)         NR                  y              N
                                                                            Cerebrovascular disorder   1 (O.l)b        NR                  N              N
                                                                            Circulatory collapse       1 (0.1)         NR                  N              N
 Wang et al., 2011 [11,14]    Worldwide surveillance, 2002-2011 c           Cardiac events             17              NR                  NR             NR
                                                                            Cerebrovascular accident   6               NR                  NR             NR
  Plazzi et al., 2018 [8]     RCT withdrawal and open-label titration       None reported
                              (n = 106 children; 104 took study drug)
CV, cardiovascular; DC, discontinuation; EKG, electrocardiogram; NR, not reported; RCT, randomized placebo-controlled trial; SO, sodium oxybate; US XMSG, US Xyrem
Multicenter Study Group; XISG, Xyrem International Study Group.
 • 670 patients had narcolepsy type 1, 60 had other diagnoses.
 b Occurred in a patient with a diagnosis other than narcolepsy type 1.
 c Includes all patients who received SO via prescription; total n not reported.




studies (Table 1), have been conducted and demonstrated no                              4. Discussion
increased association between SO and CV risk (1,3-7,9-14].
    In the pivotal short-term randomized controlled studies con-                            We conducted this literature review to determine whether the
ducted in 611 patients with narcolepsy (398 treated with SO and                         sodium content of SO, particularly at higher doses, increases CV risk
213 with placebo; age range, 36-48 years), SO was well tolerated                        in patients with narcolepsy. Narcolepsy is associated with CV risk
with no CV concerns (1,10,12,16,53). Serious AEs were infrequent,                       factors [37-39). Obesity, diabetes, OSA, hypertension, and hyper-
and treatment discontinuations due to AEs related to SO treatment                       lipidemia have all been shown to be more common in patients with
over all studies of varying duration occurred in 10.3% of patients                      narcolepsy than in the general population, based on uncontrolled
(16,54). The most frequent AEs associated with SO treatment in                          data (37-39). Because dietary sodium has been associated with
studies of adult and pediatric patients were nausea, dizziness,                         increased CV risk at extremes of intake (ie, <3000 or >6000 mg/d),
vomiting, somnolence, enuresis, tremor, headache, decreased                             it is possible that sodium intake could be of greatest concern in
weight, and decreased appetite [8,54,55 ]. Most AEs occurred at the                     patients with narcolepsy who have comorbidities that predispose
start of treatment and decreased with continued treatment (1 ].                         individuals for increased CV risk [23,34). No studies have specif-
Overall, there were no clinically meaningful changes in vital signs,                    ically reported safety profiles for SO-treated patient subgroups
including BP, which were similar in control and treatment groups                        with baseline comorbidities that may predispose them to increased
[l,10,12,53). Hypertension was noted on vital sign monitoring in                        CV risk. However, clinical trials examining the use of SO in narco-
one patient randomized to SO plus modafinil combination therapy;                        lepsy have not reported specific exclusion criteria for baseline hy-
modafinil is known to cause AEs of hypertension (53,56). Similarly,                     pertension or other stable medical comorbidities, apart from sleep
in a longer 12-week study of open-label SO in 202 patients with                         apnea, which suggests that patients with these underlying condi-
narcolepsy, only one patient (0.5%) experienced hypertension, but                       tions may have been included in randomized controlled trials with
this was not recorded as an AE (6).                                                     SO. Examination of clinical trial data from controlled, observational,
    The reporting of CV AEs in observational studies using SO in                        and post-marketing surveillance studies showed that the incidence
clinical practice was similar to controlled inte1ventional trials. In a                 of CV AEs, particularly hypertension, is extremely low in patients
retrospective study constituting 3116 patient treatment-months                          treated with SO, regardless of age [1,3,4,6-8,10-12,14,53]. SO has
(most common dose of SO was 9 gin 33% of patients; mean age,                            been approved in the United States for the treatment of excessive
43 years), there was only one patient with an AE of hypertension                        sleepiness and cataplexy in patients with narcolepsy for almost 20
(4). In a prospective observational study constituting 800 patient-                     years, and at no time has increased CV risk been identified as a
years of exposure to SO (median dose, 6 g; mean age, 39 years),                         therapeutic issue in the vast majority of patients [16].
no specific CV AEs related to SO treatment were reported [7),                               Evidence suggests that extremes of sodium intake are associated
Similarly, in SO postmarketing observational surveillance in the                        with increased CV morbidity and mortality in individuals who have
United States and European Union from 2002 to 2008 in 26,000                            clinically significant preexisting risk factors for CV disease as well as
patients (including patients with narcolepsy, insomnia, and fibro-                      for individuals without those risk factors [23,57]. Any sodium-
mylagia), hypertension was reported in 0.4% of patients [11 ]. There                    containing drug is an additional contribution to total daily so-
was one fatality attributed to heart attack in a patient with narco-                    dium intake (57). Therefore, sodium intake and SO treatment in
lepsy who had concomitant OSA and was noncompliant with                                 patients with narcolepsy who have comorbidities associated with
continuous positive airway pressure (CPAP) use [11 ]. Only one                          CV risk could theoretically be a cause for concern.
study has looked at older patient subpopulations and patients with                          The relationship between sodium intake, BP, and CV risk is
OSA, and it found the safety profile for patients treated with SO to                    complex. Accurate measurement of an individual's sodium intake is
be similar to that of the patient population as a whole, suggesting                     difficult because intake varies day to day, and although urinary
no conferred increased risk with age or comorbidity (7).                                sodium excretion reflects dietary sodium intake, it does not reflect

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plasma sodium levels [35,58]. However, it is possible to determine               events. Although the multiyear retrospective and surveillance data
average intakes for large groups of individuals and therefore it has             are more robust and corroborate the lack of evidence of CV AEs with
been possible to compare CV oi.1tcomes in groups with different                  SO treatment, such analyses may introduce recall bias.
average intakes (36]. When renal function is normal, sodium
economy is under neural control (36]. This neural system modu-                   5. Conclusions
lates sodium retention and/or excretion to maintain total body
sodium and water balance, upon which human life depends                             The use of SO for the treatment of narcolepsy is supported by
(35,36,58]. Normal total body and plasma sodium levels are                       robust clinical evidence demonstrating its efficacy and safety.
maintained over a wide range of daily sodium intake levels [59].                 Existing evidence does not support a model whereby exposure to
Thus, urinary excretion increases when intake is too high, and de-               SO leads to increased CV risk. Patients with narcolepsy and
creases when total body stores are deficient (18,35]. Under normal               comorbidities that place them at elevated risk for CV disease
physiologic conditions with intact homeostatic mechanisms, BP is                 should receive appropriate treatment for such comorbidities, as
also maintained over a wide range of dietary sodium intake levels                appropriate for any patient without narcolepsy. There is no evi-
(58,60,61 ]. It is only at extremes of sodium intake that these ho-              dence that, in general, patients receiving SO treatment for nar-
meostatic mechanisms become challenged.                                          colepsy should alter or discontinue their therapy because of the
    The upper limit of sodium intake beyond which increased CV                   sodium content of SO.
risk is conferred (6000 mg/d) is far higher than guideline levels
( <2300 mg/d) (23,26]. The majority of the US population consumes                Funding source
3600 mg/d, the midpoint of the range associated with optimal
health outcomes (24,36]. Currently, there is no supportive evidence                 This work was supported by Avadel Pharmaceuticals.
that the sodium content of SO, even at the 9-g dose, is a cause for
concern for most patients with narcolepsy; no associated CV risk
                                                                                 Acknowledgments
has been found [1,3,4,6-8,10-12,14,53]. Thus, there is no current
evidence that treatment with SO increases CV risk or that reducing
                                                                                    The authors thank Dr. Michael H. Alderman, Professor Emeritus,
SO-related sodium intake would alleviate CV risk in patients with
                                                                                 Albert Einstein College of Medicine, Bronx, NY, for his contributions
narcolepsy. However, there have been no studies that directly
                                                                                 and critical review of this manuscript. The authors thank Kirsty
examined the effect of dietary sodium intake or urinary sodium
                                                                                 Nahm, MD, of The Cuny Rockefeller Group (Tarrytown, NY) for
levels on CV safety in patients with narcolepsy treated with SO.
                                                                                 medical writing assistance, which was funded by Avadel
    Narcolepsy is associated with predisposing CV risk factors of
                                                                                 Pharmaceuticals.
obesity; diabetes; OSA; hypertension; hyperlipidemia; and, to some
degree, cardiovascular autonomic dysregulation (37-39). Although
evidence exists to support the notion that narcolepsy is associated              Conflict of interest
with CV and cardiometabolic comorbidities, these studies were
largely based on claims data, which inherently lack control for                      M: Consultant: Avadel Pharmaceuticals; Balance Therapeutics
disease severity. Furthermore, the observed high prevalence of                   [Idiopathic hypersomnia[; Harmony Biosciences [Narcolepsy); Eisai
OSA, in particular, may be due in part to misdiagnosis of sleep                  Pharma [Insomnia]; Merck Pharmaceuticals [Insomnia].
                                                                                     CK: Consultant: Avadel Pharmaceuticals, Merck & Co., Inc.,
disorders as sleep apnea (37-40). Increased CV risk associated with
any of these comorbidities is attenuated with adequate treatment,                XWPharma.
including maintaining BP within normal limits, stabilizing blood                     The JCMJE Uniform Disclosure Form for Potential Conflicts of
glucose levels, instituting effective CPAP ventilation, and weight               Interest associated with this article can be viewed by clicking on the
loss (62). No studies specifically following the evolution of these              following link: https://doi.org/10.1016/j.sleep.2020.09.017.
comorbidities after initiation of SO treatment were identified. In
addition, no conclusion can be drawn about the clinical relevance of             References
CV autonomic dysregulation in patients with narcolepsy until
                                                                                  [ l] A randomized, double blind, placebo-controlled multicenter trial comparing
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with baseline comorbidities that predispose them to elevated CV                        multiccntre study and open-label investigation. Lancet Child Adolesc Health
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outcomes. Furthermore, the short study period of some pivotal                          hydroxybutyrate on the sleep of narcolepsy patients: a double-blind study.
studies (12 weeks) may be insufficient to conclude absence of CV                       Sleep 1990; I 3(6):479-90.

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                      EXHIBIT 12
                   FULLY REDACTED
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                         EXHIBIT 13
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        1
                                IN THE UNITED STATES DISTRICT COURT
        2
                                IN AND FOR THE DISTRICT OF DELAWARE
        3

        4   JAZZ PHARMACEUTICALS, INC.,                     )
                     Plaintiffs,                            )   C.A. No.
        5   v.                                              )   21-691-GBW
                                                            )
        6   AVADEL CNS PHARMACEUTICALS, LLC,                )
                     Defendant                              )
        7   ---------------------------------               )
                                                            )   C.A. No.
        8   JAZZ PHARMACEUTICALS, INC., et al.,             )   21-1138-GBW
                     Plaintiffs,                            )
        9   v.                                              )
                                                            )
       10   AVADEL CNS PHARMACEUTICALS, LLC,                )
            Defendant.                                      )
       11   ---------------------------------               )
                                                            )
       12   JAZZ PHARMACEUTICALS, INC., et al.,             )
                     Plaintiffs,                            )   C.A. No.
       13   v.                                              )   21-1594-GBW
                                                            )
       14   AVADEL CNS PHARMACEUTICALS, LLC,                )
                     Defendant.                             )
       15

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                                                - - - -
       17
                                       Wilmington, Delaware
       18                              Thursday, October 20, 2022
                                       Teleconference Transcript
       19
                                             - - - -
       20
              BEFORE:   HONORABLE GREGORY B. WILLIAMS
       21               UNITED STATES DISTRICT COURT JUDGE

       22
                                               - - - -
       23

       24

       25
                                                        Michele L. Rolfe, RPR, CRR




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 1                                                                                                                                             4
     APPEARANCES:
 2                                                                              1   ahead and turn it over to Mr. Sorry.

 3          MORRIS, NICHOLS, ARSHT & TUNNELL LLP                                2                  MR. CERRITO: Thank you, Your Honor. This case,
            BY: JEREMY A. TIGAN, ESQ.
 4                                                                              3   as Your Honor may or may not be aware at this point didn't
                    -and-
 5                                                                              4   start off as a normal Hatch-Waxman case, that was in part
            QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                                                                5   because of defendant's choice not to certify against certain
 6          BY: F. DOMINIC CERRITO, ESQ.
               FRANK C. CALVOSA, ESQ.
                                                                                6   patents. And as a result it started as a mixed case with
 7             KRISTA M. RYCROFT, ESQ.
                For the Plaintiff                                               7   271(e) counts and 271(a) counts involved. Therefore, as a
 8
                                                                                8   result -- or, subsequently, Avadel did file a certification
 9
               MCCARTER & ENGLISH, LLP                                          9   and we are now currently under the 30-month stay. That stay
10             BY: DANIEL M. SILVER, ESQ.
                                                                               10   is due to expire mid next year prior to the scheduled trial
11                  -and-
                                                                               11   in this matter.
12             LATHAM & WATKINS LLP
               BY: HERMAN H. YUE, ESQ.                                         12                  It's a normal Hatch-Waxman case if you get to a
13               AUDRA M. SAWYER, ESQ.
                                                                               13   point where the 31 stay is expired and the parties -- the
14                  For the Defendant
                                                                               14   defendant wants to launch. The typical situation is the
15
                                                                               15   plaintiff amends its pleadings to add eight counts in, if it
16
                                                                               16   didn't already have one, and then proceed with damages
17
                                                                               17   discovery. Here, as I said, this started a little
18
                                                                               18   differently.
19
                                                                               19                  At this point, there is discovery that has been
20
                                                                               20   provided to us, a certain amount, not all of it. Certainly,
21
                                                                               21   Avadel believes -- or I think Avadel is not contesting that
22
                                                                               22   there's more discovery to be had, but that for some reason
23
                                                                               23   we shouldn't get it. I'm not sure -- other than the fact
24
                                                                               24   that -- and to be fair that there has been no actual launch.
25
                                                                               25                  The complicating factor here, Your Honor, as I

                                                                3                                                                              5
 1                  -----                                                       1   said, their approval, potential approval short of a 31 stay

                                                                                2   could go final earlier than a trial in this matter.
 2              PROCEEDINGS                                                     3                  And as a result, it's obviously likely we'll be
 3       (REPORTER'S NOTE: The following teleconference was                     4   moving for a preliminary injunction. If we were successful,
 4   held beginning at 3:00 p.m.)                                               5   then perhaps no damages discovery would be needed,
 5                 THE COURT: Good afternoon.
                                                                                6   obviously. But if we're not, we would then have to pick up
 6                 All right. We are here this afternoon for a
                                                                                7   the ball and finish up whatever damage discovery existed.
 7   discovery dispute teleconference in Jazz Pharmaceuticals,
                                                                                8                  So at this point, you know, we're left with the
 8   Inc. v. Avadel CNS Pharmaceuticals, LLC. Civil Action No.
                                                                                9   fact that we should proceed with discovery, we should get
 9   21-691.
                                                                               10   whatever discovery available to them now. Should there be a
10                 Let's start by having counsel put appearances on
                                                                               11   situation where additional discovery becomes available
11   the record.
                                                                               12   because of an actual launch, then they could certainly
12                 MR. TIGAN: Yes, Your Honor. This is Jeremy
                                                                               13   supplement and we can take it from there.
13   Tigan with Morris Nichols on behalf of Jazz. I'm joined by
                                                                               14                  To avoid this motion, we offered up the idea of
14   Nick Cerrito, Frank Calvosa and Krista Rycroft all with
                                                                               15   maybe staying discovery until it became more relevant and
15   Quinn Emanuel.
                                                                               16   the case was in actual launch, if that ever turns out to be
16                 And with your permission, Mr. Cerrito will
                                                                               17   the case, or to bifurcate it. I'm not sure if it would make
17   present our arguments today.
                                                                               18   a material difference whether it is a stay or a bifurcation.
18                 THE COURT: Okay. Good afternoon.

19                 MR. SILVER: Good afternoon, Your Honor. Dan                 19   But at some point should this case proceed to trial and we

20   Silver from McCarter & English on behalf of Avadel. I'm                   20   win, you know, and they've lunched already, short of a PI,

21   joined by Herman Yue and Audra Sawyer from Latham & Watkins.              21   then we're going to need that discovery.

22   And with Your Honor's permission, Mr. Yue will be making the              22                  The only alternative we've heard from defendant

23   argument for Avadel today.                                                23   is somehow consolidate this with another case that isn't

24                 THE COURT: Okay. Good afternoon.                            24   exactly overlapping; that, quite frankly, has not had a Rule

25                 All right. It's Jazz's motion, so we'll go                  25   16 conference, that got filed more than a year after the

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                                                            6                                                                               8
 1   present case; and for which a motion -- 12(c) motion to                  1    current stay, but that stay will be lifted in June of 2023
 2   dismiss is pending. We think that any consolidation would                2    before scheduled trial in this case.
 3   severely prejudice plaintiff's rights to get to trial in                 3                If Your Honor says to us: Mr. Cerrito, sit
 4   this matter and get our rights adjudicated with regard to                4    down, shut up, you can get your discovery in June, okay,
 5   the patent case and proceed in that matter.                              5    I'll accept that, Your Honor. I'm trying to do it in a
 6               Consolidation would do nothing more than slow                6    process that doesn't burden any of the parties any more than
 7   this down perhaps years, which, obviously, not in Jazz's                 7    it has to. They have plenty of time to do it now. We would
 8   interest and to their prejudice. So we're not wed to making              8    need supplementation, obviously, if in fact they were able
 9   this difficult for anyone, it's simple, take the discovery               9    to enter to the market.
10   they have now and supplement if and when it becomes                     10                I don't think the burden right now is great, I
11   necessary, or amendable to having it stayed until that time.            11    don't think they have a ton of stuff that they would
12               Again, I'm not sure the process is really the               12    otherwise say is relevant and produceable, so I don't think
13   point here, but rather the discovery in some kind of fashion            13    it is that big of a deal. I think this is much more of just
14   that doesn't burden the Court nor the parties more than it              14    figure out how the process goes. If Your Honor says, again,
15   has to.                                                                 15    sit down and we'll talk about this in June if they were able
16               THE COURT: All right. Mr. Cerrito, let me ask               16    to launch into the marketplace, I'm happy to sit down, Your
17   you a couple of follow-up questions. You mentioned that                 17    Honor. We just need to know how this is going to go.
18   Jazz has already received some discovery, and I want to                 18                THE COURT: I understand. I understand that
19   clarify whether any of that discovery -- whether Avadel has             19    you're trying to minimize the burden for all involved in
20   produced any damages-related discovery to date.                         20    trying to reach some reasonable compromise, but when you
21               MR. CERRITO: Yeah, Your Honor, I guess I would              21    have a defendant who is abiding by what appears to be the
22   answer that by saying yes, to the extent it overlaps with               22    legal standard and contesting that damages-related discovery
23   information that we would otherwise request for a                       23    is not relevant to any claim or defense at this time, it's
24   preliminary injunction hearing. So in that sense they have,             24    difficult for the Court to order something, compel something
25   but I believe and I don't think they have contested                     25    that may not be at issue at this time.

                                                            7                                                                               9
 1   otherwise, there's additional discovery -- and, again, I can             1                But, let me hear from counsel from Avadel as to
 2   try to itemize it for you, but there may be additional                   2    its position and its response to Jazz's offer to compromise.
 3   discovery that they currently have.                                      3                MR. YUE: Thank you, Your Honor. This is Herman
 4               THE COURT: Okay. And how do you respond to                   4    Yue from Latham & Watkins for Avadel.
 5   Avadel's position that 35 U.S.C. 271(e)(4)(c) provides that              5                I think, Your Honor, sort of hit the nail on the
 6   damages or other monetary relief may be awarded against an               6    head in terms of the statutory provision for damages here,
 7   infringer only if there's been a commercial manufacture,                 7    which requires expressly the commercial manufacture, use,
 8   use, offer to sale or sell within United States or                       8    offer for sale or sale within the United States, and that
 9   importation into the United States of an approved drug. And              9    hasn't happened.
10   because Avadel has not engaged in the commercial sale of                10                And if you look at Jazz's own prayer for relief,
11   Lumryz, there's no damages claim presently at issue, thus               11    it is expressly conditioned on Avadel engaging in such
12   the damages-related discovery is not relevant to any parties            12    commercial manufacture and use. That hasn't happened yet;
13   claim or defense?                                                       13    that may never happen.
14               MR. CERRITO: Yeah, certainly, Your Honor, I                 14                Jazz has, as we noted, work assiduously to
15   understand their position.                                              15    prevent that from happening. But certainly as things stand
16               As I said, this case started without a                      16    now with the certification against the '963 patent, that
17   Hatch-Waxman stay because Avadel made the choice not to                 17    patent and the 30-month stay won't expire until June of
18   certify. They subsequently changed that position and put                18    2023.
19   the stay motion in. As we indicated -- and, again, I think              19                Now, Your Honor, a few things to note. Your
20   -- look, I don't think anybody says if this case went to an             20    Honor, I think it may have been represented in the papers
21   actual launch with marketplace sales as a trial, which we               21    that damages discovery is common in patent infringement
22   want, we wouldn't be entitled to damages, so at some point              22    cases. And while that may be true for infringement actions
23   we're entitled to discovery.                                            23    brought under other contexts where there is a commercial
24               What we're trying to do is just minimize the                24    sale, that's not the case here in the Hatch-Waxman Act
25   pain here for everybody. As I agree, now we're in the                   25    context. Because these Hatch-Waxman actions are intended to

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                                                              10                                                                        12
 1   prevent the commercial launch, and so the notion that                     1   space of about two months trial is scheduled. And that kind
 2   damages discovery is somehow routine is not quite right.                  2   of compression just doesn't make sense to us, Your Honor.
 3               I'd also like to sort of touch on something that              3               Our suggestion is pushing the case schedule back
 4   Mr. Cerrito referenced, which is this trade secret case,                  4   and rescheduling trial for some time in the first half of
 5   because I think it's important, Your Honor, to take a step                5   2024. So we're looking at maybe something like a 5, 9-month
 6   back. Our goal ultimately is to try to reach resolution of                6   delay in the case schedule.
 7   both this case as well as the trade secret case that Avadel               7               Given the overlap with the trade secret case, we
 8   has brought against Jazz in a way that's going to be most                 8   think that the trade secret case can also be prepared and
 9   efficient for the Court. That trade secret case -- I guess                9   tried on that same schedule. So we would be looking at
10   I would disagree with Mr. Cerrito in a sense that I'd                    10   complete resolution of both of these cases, Your Honor, in
11   actually would argue that it has considerable factual                    11   the latter part of the first half of 2024.
12   overlaps, probably 90 percent of the facts in that case are              12               And so we suggest that as a proposal to allow
13   going to be overlapping with issues in this case.                        13   the damages discovery that Jazz is seeking, to allow the
14               And just for a little bit of context, Your                   14   orderly unfolding of facts and expert discovery relating to
15   Honor, that trade secret case, Avadel alleges that during                15   damages case, and, frankly, to conserve Your Honor's
16   the course of various discussions between Avadel and Jazz                16   resources and time by consolidating those two cases into a
17   where Avadel provided Jazz, under the auspices of a                      17   single case.
18   nondisclosure agreement, confidential information about                  18               THE COURT: Okay.
19   Avadel's formulation technology, that Jazz then turned                   19               MR. CERRITO: May I address that, Your Honor.
20   around and used that information improperly.                             20               THE COURT: Yes, I wanted to hear Jazz's
21               And so the issues, the facts both in this case               21   response on that and also -- well, within that, its response
22   where we are challenging whether or not Jazz in fact                     22   on the proposal for consolidation.
23   developed the technology that it claims in its patents, as               23               MR. CERRITO: Well, I'll start there, Your
24   well as their trade secret case, they all really center                  24   Honor. The statement that there's 90 percent overlap,
25   around, to great extents, the activities that Jazz was                   25   that's a bold statement, and I don't think they could

                                                              11                                                                        13
 1   engaged in in its drug development work over the last decade              1   support that. I think there's very little overlap, if any.
 2   or so.                                                                    2   Yes, there's the same party, but that case has nothing to do
 3               So I would say that there is substantial overlap              3   with patent infringement or the validity of our patent, so
 4   between those cases, and as a result we think it makes sense              4   that statement, I think is exaggerated. We're happy to
 5   to try this case as well as the trade secret case in                      5   explain why more.
 6   one case so that the same set of facts are heard once,                    6               Also, they don't have a jury demand in that
 7   they're heard by one jury that's empanelled by Your Honor,                7   case. So it's a case that, what, again, more than a year
 8   and it will only take up Your Honor's time for one trial as               8   after our case against them, we have a 12(c) motion because
 9   opposed to having two separate trials on what we think are                9   we believe, quite honestly, Your Honor, it's nothing but
10   largely overlapping facts.                                               10   mudslinging. Their whole endeavor here is to consolidate
11               And because there is overlaps between the trade              11   these cases so they can try to get arguments about Jazz
12   secret case and this case, we are, to be clear, not seeking              12   being bad players in front of the jury while we're doing our
13   to slow down the case, this case by years, that's simply not             13   patent case against them. That's what this is really about,
14   the case.                                                                14   this has nothing to do with the discovery issue.
15               What we're seeking to do is if there is a                    15               The reality is this would push us back more than
16   launch, as Avadel is -- let me rephrase, if the '963 patent              16   a year to go forward with that and that prejudices my
17   expires in mid-June, as it's currently scheduled to do, and              17   client. We should have the right to get to trial on our
18   Avadel is then free to launch, as a practical matter, Your               18   case immediately. If they're willing not to launch their
19   Honor, it's going to take Avadel at least six weeks, if not              19   product until resolution of all the three cases together or
20   more, to actually come on to the market and actually                     20   the two cases together, we could certainly talk about that.
21   generate any type of infringing, potentially, or accused                 21   I suspect --
22   sales.                                                                   22               THE COURT: Let me stop you there for a second.
23               At that point, we're looking at then engaging in             23               Mr. Yue, is your client willing to stay the
24   fact discovery relating to a damages claim then expert                   24   launch of the product until both cases are resolved?
25   reports and expert discovery on the damages issue in the                 25               MR. YUE: We're not, Your Honor. This product

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                                                           14                                                                             16
 1   is important to our client. We think it's important to                    1   we would find a way. But, again, I think it's worth
 2   narcolepsy patients who, in our view, are in need for a                   2   returning back to sort of the practical, like the actual
 3   once-nightly sodium oxybate product.                                      3   timeline of what would happen here. The earliest launch,
 4               But on the flip side, Your Honor, we don't see                4   commercial launch that is feasible for Avadel would put the
 5   the prejudice or any type of irreparable harm that would be               5   product hitting the market for the first time some time in
 6   visited upon Jazz for delaying the trial for a few months.                6   early August.
 7   You know, they're seeking damages, they can be compensated                7               So we're looking at -- you know, assuming that
 8   monetarily. And so we think that it's not a problem really                8   there's, you know, a month, say, of commercial sales and
 9   for Jazz to simply -- they will get their day in court, but               9   then discovery into the actual sales, cost, market share,
10   let's do it in an orderly way and in a consolidated way that             10   etc., after that time, we're looking, then, at fact
11   conserves judicial resources, and it's just going to be a                11   discovery for those -- on those issues some time in
12   more efficient process.                                                  12   September with an October 30th trial date.
13               MR. CERRITO: I --                                            13               In our view, it would be extremely -- well, it
14               THE COURT: I didn't mean to cut you off,                     14   would be a scramble, Your Honor, to put it bluntly, in order
15   Mr. Cerrito, you can continue.                                           15   to complete the necessary fact discovery as well as expert
16               MR. CERRITO: No worries, Your Honor. They're                 16   reports and expert discovery. So that's -- just purely on a
17   not willing to stop what they're going to do, but they're                17   practical level, Your Honor, that's why we thought it would
18   going to put our case on hold and, obviously, that's                     18   be more appropriate to push the trial date out to allow for
19   extremely prejudicial.                                                   19   -- if Your Honor feels it is appropriate to have damages
20               There is all kinds of damage harm that could be              20   discovery, to allow that process and allow the expert report
21   done. Like I'm entering in a 2-plus million dollar market                21   process on damages issue to proceed a pace without a
22   for potentially years before we can get to trial on this                 22   scramble or an artificially compressed schedule that would
23   matter, the prejudice speaks for itself.                                 23   be required for an October 30th trial date.
24               The reality, going back to the issue at hand, is             24               Your Honor, not to belabor the point, it's also
25   if Your Honor -- the reason we had to raise this motion with             25   worth remembering that when we set this case schedule

                                                           15                                                                             17
 1   Your Honor as quickly as we did is that discovery is closing              1   initially, Jazz knew full well that it was working to keep
 2   in a week in this case. As opposed to the discovery in the                2   Avadel off the market, and that the '963 patent, which is --
 3   other case that they want to consolidate hasn't even begun                3   it has always maintained that we had to certify against it,
 4   let alone is there a schedule for it. But be that as it                   4   that it would keep us off the market. It knew from the
 5   may, if Your Honor rules that we're not prejudiced to go                  5   outset that this situation was likely to happen where we
 6   back if and when there's a damages actual sales of their                  6   would be blocked from entering the market until at least
 7   product launch happens, we're happy to wait. We have no                   7   June 17th, 2023.
 8   problem.                                                                  8               So in many respects, Your Honor, this situation
 9               We had a schedule that was put into this case in              9   is a situation of Jazz's own creation. And it seems
10   which discovery closed and we were forced without an                     10   somewhat unfair to us that they are now complaining about
11   accommodation by the defendants with regard to their various             11   their -- the discovery schedule for damages when they knew
12   suggestions, we had no choice but to move.                               12   full well that this was going to be the outcome given an
13               THE COURT: Okay. Understood.                                 13   October 30, 2023 trial date. They never mentioned it to
14               Question for Avadel, Mr. Yue, is Avadel willing              14   Judge Noreika, they never raised this, they never said hey,
15   to agree to the stay of the deadlines in the scheduling                  15   we need to make some special accommodations or some other
16   order as they pertain to damages discovery until the time                16   consideration for this situation. And so to us it rings a
17   that Avadel launches Lumryz and then under that scenario, we             17   little false for Jazz to now complain about this situation.
18   would keep the dates and have the stipulation with a                     18               MR. CERRITO: Your Honor, I think I just heard
19   provision that provides for expedited discovery upon -- if               19   that it's Jazz's fault that they failed to certify a year
20   and upon the launch that would be completed by the time                  20   ago when the FDA has made that ruling that they should.
21   the -- in enough time sufficient for damages to be part of               21   That's our fault? They could have done it a year ago, they
22   the trial that's currently scheduled to begin on                         22   chose not to. That was their choice.
23   October 30th, 2023.                                                      23               And as far as getting this done, this is what
24               MR. YUE: So, Your Honor, I would say that if --              24   happened at every Hatch-Waxman case where there's a launch
25   of course, if the Court ordered late discovery on damages,               25   before trial, every Hatch-Waxman case. It gets amended, you

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                                                         18
 1   put in eight counts, you do damage damages discovery, all
 2   can be done relatively quickly.
 3              While they told Your Honor that they are not
 4   going to launch, in they think August, they have been
 5   telling Wall Street earlier, maybe they should amend that
 6   disclosures. We're talking about a couple of months of
 7   sales, I don't think it would be that much discovery. I
 8   think it will be fine. I think we can get it done fairly
 9   quickly. But to somehow point the finger at us saying it's
10   our fault they didn't certify and we should have known, Your
11   Honor, that just makes no sense.
12              THE COURT: All right. I've heard from both
13   sides. I understand your respective positions. I was
14   hoping that we could reach some amicable resolution, but it
15   doesn't sound like it. So I'm going to go ahead and rule on
16   the motion.
17              Given the law in the area, I'm going to deny
18   Jazz's motion to compel without prejudice to renew at the
19   time that there's been a commercial manufacturer, use or
20   sale or offer to sale Lumryz.
21              MR. CERRITO: Thank you, Your Honor.
22              MR. YUE: Thank you, Your Honor.
23              THE COURT: All right. Thank you both. Have a
24   good afternoon.
25              (Whereupon, the following proceeding concluded

                                                         19
 1   at 3:27 p.m.)
 2                   I hereby certify the foregoing is a true
 3   and accurate transcript from my stenographic notes in the
 4   proceeding.
 5                         /s/ Michele L. Rolfe, RPR, CRR
                              U.S. District Court
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                         EXHIBIT 14
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       REFINITIV STREETEVENTS
       PRELIMINARY TRANSCRIPT
       AVDL.OQ - Q3 2022 Avadel Pharmaceuticals PLC Earnings Call

       EVENT DATE/TIME: NOVEMBER 09, 2022 / 1:00PM GMT




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                                                                                                                                                                   PRELIMINARY
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PRESENTATION
Operator
Good morning. My name is Rob, and I will be your conference operator today. At this time, I would like to welcome everyone to the Avadel
Pharmaceuticals Third Quarter 2022 Earnings Conference Call. After the speakers' remarks, there will be a question-and-answer session. (Operator
Instructions) Austin Murta from Avadel Investor Relations, you may begin your conference.


Unidentified Company Representative
Good morning, and thank you for joining us on our conference call to discuss third quarter 2022 earnings. As a reminder, before we begin, the
following presentation includes several matters that constitute forward-looking statements within the meaning of the Private Securities Litigation
Reform Act of 1995. Forward-looking statements are subject to risks and uncertainties that could cause the actual results to differ materially from
those contemplated in such forward-looking statements. These risks include risks that products in the development stage may not achieve scientific
objectives or milestones or meet stringent regulatory requirements, uncertainties regarding market entry and acceptance of products and the
impact of competitive products and pricing.

These and other risks are described more fully in Avadel's public filings under the Exchange Act included in the Form 10-K for the year ended
December 31, 2021, and which was filed on March 16, 2022 and subsequent SEC filings. Except as required by law, Avadel undertakes no obligation
to update or revise any forward-looking statements contained in this presentation to reflect new information, future events or otherwise.

On the call today are Greg Divis, Chief Executive Officer; Jennifer Gudeman, Vice President of Medical and Clinical Affairs; Richard Kim, Chief
Commercial Officer; and Tom McHugh, Chief Financial Officer. At this time, I'll turn the call over to Greg.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Thank you, Austin. Good morning, everyone, and thank you for joining us this morning to discuss Avadel's third quarter 2022 results. Q3 was another
important quarter for Avadel and our pursuit to bring LUMRYZ to people with narcolepsy.



                                                                                                                                                                             2

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Most importantly, LUMRYZ are investigational once-in-bedtime oxybate therapy for the treatment of cataplexy or excessive daytime sleepiness in
adults with narcolepsy was granted tentative approval by the FDA in July. The FDA's formal decision of granting technical approval results in 3 very
important developments for Avadel.

First, it validates LUMRYZ safety profile and clinical efficacy and as such, has confirmed that LUMRYZ is approvable as a once at bedtime therapy.
We view this as a major regulatory derisking event for Avadel.

Second, it enables us to complete work on key launch-related activities, including the build-out of the REMS program and the manufacture of
commercial launch supply. We made significant progress in these activities in Q3 and are on track to have both completed before the end of the
year. Lastly, it confirms that the potential latest date we should receive a final approval decision is after expiry of the REMS patent, which will occur
on June 17, 2023, approximately 7 months from now. A final approval will then be followed by a launch that is expected no later than Q3 of 2023
into what we believe is a $3 billion-plus market opportunity. We will continue to take the necessary actions to bring LUMRYZ to final approval and
more importantly, to provide access to people with narcolepsy who are desperately seeking new treatment options.

Very recent comprehensive market research that Richard will highlight shortly, continues to confirm the significant interest in LUMRYZ across all
patient and physician segments, all of which is supported further by what we see in the real-world data coming from our RESTORE study, where
94% of twice-nightly switch patients prefer the once at bedtime dosing of LUMRYZ.

The combination of the real-world data of RESTORE along with our extensive market research and data analytics confirms our belief that LUMRYZ
is well positioned to capture a meaningful share of the projected $3 billion-plus once at bedtime oxybate market. Although our base case assumption
is to receive a final approval decision following expiration of the REMS patent in June of 2023, we continue to pursue efforts that could potentially
lead to a final approval decision sooner.

More specifically, the Delaware court has granted our expedited request and has scheduled a hearing on our renewed motion to delist the REMS
patent from the Orange Book for next week on Tuesday, November 15 at 10 a.m. Eastern Time. We look forward to the Delaware Court's decision
and the opportunity to potentially accelerate the time line to a final approval and subsequent launch for LUMRYZ.

With that, I'll turn the call over to Jennifer to provide details on our recent data presentations. Jennifer?


Jennifer Gudeman
Thanks, Greg, and good morning. As Greg said, this was an important quarter of progress for Avadel. We continue to add to the robust body of
evidence supporting LUMRYZ. These extensive and positive data will support the launch following potential final FDA approval.

Let's start with the Test Congress held a few weeks ago, where we had 3 posters presented with updated data from our open-label study RESTORE.
First, we provided further confirmation of long-term safety and tolerability with Bloom rise among the 180 participants who received at least 1
dose.

Second, for patients not previously taking an oxybate, most have been efficiently titrated to a stable dose within 1 month. The majority of switch
patients, they remain at once nightly dose of LUMRYZ equivalent to their previous total nightly intake of a media release oxybate. These more
real-world data will be instructive for clinicians to consider when we launch commercially, Understanding the patient perspective and experience
is critical to Avital. After 3 months on therapy of LUMRYZ, which patients are asked which dosing regimen may prefer. As we have seen consistently,
there is an overwhelming preference for dosing that only LUMRYZ will offer with 94% stating they preferred the once-nightly dosing regimen over
twice nightly. Let's look at some of the reasons for that preference by understanding the challenges with twice-nightly oxybate.

For those switching from either of the twice-nightly oxybate, we asked at baseline about their experience with the second dose, which revealed
several key points.




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First, about 2/3 of participants had accident only missed their second dose in the past 3 months. Of these, 80% reported feeling worse the next
day. These data align with what we hear directly from patients as having a negative impact to them, frequently missing a dose and feeling worse
the next day.

Next, 61% reported taking their second dose more than 4 hours after the first dose. Of these, 88% confirmed that they experienced next day
grogginess. These data also align with what we hear anecdotally from patients. Lastly, approximately 25% of participants reported the need for
someone else to wake them for the second dose.

Now turning towards the ANA meeting. We were very pleased to debut data in partnership with the Mayo Clinic that examined more than 2,000
patients with narcolepsy seen at Mayo in the past 20 years. These were compared to an equivalent number of a matched cohort of patients without
narcolepsy to identify the top 20 comorbidities increased in the narcolepsy cohort.

Among the top 20 comorbidities increased, 3 were sleep conditions, 3 were psychiatric conditions, both are well recognized to be increased in
people with narcolepsy. What generated considerable interest were 2 additional findings.

First, 5 gain-related disorders were significantly increased in the narcolepsy cohort. Second, the top 20 comorbidities did not include hypertension
or other types of cardiac disease, such as myocardial infarction or stroke. We have additional real-world data from the collaboration with the Mayo
Clinic that we will be submitting for 2023 medical congresses specifically focused on the cohort that has been treated with sodium oxybate.

What we and the narcolepsy community are most excited about is when LUMRYZ is available and real-world evidence can be generated to further
validate the transformational impact of LUMRYZ for people with narcolepsy.

I will now turn the call over to Richard to provide details on the commercial opportunity and are advancing preparations for launch. Richard?


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Thanks, Jennifer, and good morning, everyone. I'll provide updates on our growing market insights and our overall launch readiness. But today,
I'd like to start with a reminder of why we do what we do.

This fall, our team attended a lot of meetings with seed specialists and people with narcolepsy to continue to demonstrate Avadel's commitment
to the narcolepsy community. At each conference, we were asked several times unsolicited, when our product will be approved and made available.
These people are well aware of LUMRYZ and have told us they are waiting for it.

Now to take the step further, I want to share a patient family story that is really stuck with me. A couple of weeks ago, 1 father told us that every
single night, he wakes up at 3 a.m. to call his son in college so that he does not miss taking the second dose of oxybate and that he just can't wait
for the day where both he and his son don't have to wake up at 3:00 a.m. in the middle of the night for his son to attend classes the next day.

As much as we focus on people with narcolepsy, we sometimes overlook the impact on family members and caregivers. This is just 1 of the many
personal stories that we often hear and continues to remind us why we cannot relent in our pursuit of bringing once at bedtime limited to people
with narcolepsy and their families.

Let me now transition to our continued focus on advancing our deep understanding of the arts market, which continues to inform our launch of
planning. We conducted a new quantitative market research project from over 130 narcolepsy treaters that once again validated our key market
assumptions and offer some important new insights about current non-oxrate prescribers.

While we ask several questions, 1 key takeaway is that oxybate use will increase once gloominess available across oxybate prescribers and even
current non-oxybate prescribers. Here are a few key points from this market research.




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First, all prescribers can identify patients who are eligible for oxybate therapy. However, many eligible patients are still not treated. High-volume
oxybate prescribers state using oxybate in about 45% of their narcolepsy patients with another 20% eligible, but not being treated with an oxybate.
By comparison, low-volume oxybate prescribers stay using oxybate in under 10% of all narcolepsy patients with an additional 20% eligible, but
not being treated with an oxybate.

Second, when shown the LUMRYZ product profile, current oxybate prescribers predict that oxybate market utilization as measured by market share
will grow by at least 50%. Third, for narcolepsy prescribers who do not use oxybates, these HCPs state that 1 in 4 of their narcolepsy patients are
oxybate eligible despite not currently prescribing the twice-nightly formulations.

Now the top reasons for not using oxybate are similar with other groups in that the prescribers are concerned with reimbursement challenges and
the inability of their patients to comply with twice-only dosing.

However, when shown the LUMRYZ product profile, almost half of these current non-prescribing oxybate HCPs stated they would use LUMRYZ in
the future and that they can already identify eligible patients they would treat. We also see awareness about Avadel, LUMRYZ and once-nightly
sodium oxybate increasing compared to last year with the greatest awareness increase in high oxybate prescribers.

What this all translates into is that when LUMRYZ is available across all oxybate prescribing segments. These HCPs intend to give LUMRYZ to highest
share of scripts in a growing future oxybate market.

Now when we look at the oxybate market from a patient claims perspective, our analytics suggest that the market potential for LUMRYZ could be
roughly double that of the current twice-nightly oxybate market, with more than 30,000 potential eligible patients.

Recall, the estimated total patient position consists of 3 key segments. First, approximately 16,000 actively treated 290 patients; second, an estimated
10,000 to 15,000 potential patients previously treated with an oxybate who have discontinued twice therapy within the last 3 years. And third,
roughly 3,000 new oxybate patient starts and in this segment, we expect robust yet growth of 25% to 50% per year in the future. All 3 patient
segments have expressed high levels of interest in LUMRYZ and along with HCPs are also aligned in the belief that once at bedtime dosing is the
most important engine for an oxybate therapy when comparing different formulations, thus demonstrating our preference for aluminide over the
current standard of care.

Now turning to our launches efforts. Q3 was a busy quarter for our team. We made significant progress building our commercial launch supply for
LUMRYZ and all the programs that will enable the fulfillment of a prescription after approval, mainly the detailed build-out of the REMS, our ongoing
patient support services development and finalization of the contracts for our specialty pharmacy network. The progress we have made will enable
us to shorten the time from a final approval decision in June to full launch of LUMRYZ in the third quarter of 2023.

As Jennifer mentioned, we had a strong showing at the chest and ANA congresses as well as attending and presenting at some of the first live
patient organization meetings in a couple of years. On the payer front, our team had several key meetings with the decision makers at the GPOs
and PBM that manage over 85% of the commercially insured lives.

We continue to advance our conversations with them around contracts and coverage for LUMRYZ and the feedback continues to be positive. One
more key update on loss readiness. We just began to build out our launch team knowing that we are now only about 7 months away at the latest
from a final approval decision.

This first portion of our build-out plan paired with what remains, balances are need to be launched-ready while continuing to be thoughtful about
how and when we invest our resources. We look forward to providing more updates on future calls.

With that, I will now turn the call over to Tom for an update on the company's financials. Tom?




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Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
Thank you, Richard. I'll provide a few highlights for the quarter and also note that full financial results are available in the press release and the
10-Q. I'll start with the balance sheet where we reported $106.5 million of cash, cash equivalents and marketable securities as of September 30,
2022.

The company also had $143.8 million convertible notes, which includes $117.4 million maturing in October of 2023. Subsequent to September 30,
we completed an open market repurchase at a discount to par of $8.9 million of the $26.4 million of notes that mature in February of 2023. As a
result, the amount that matures in February was reduced to $17.5 million. Excluding restructuring charges, Total operating expenses in the quarter
ended September 30, 2022, were $17 million compared to $25.7 million in the same period in 2021 and $26.3 million in the quarter ended June
30, 2022.

The decrease in operating expenses in the current quarter resulted primarily from cost optimization actions taken by the company, and we are on
track to reduce quarterly cash operating expenses, excluding inventory purchases, to our target range of $12 million to $14 million.

R&D expenses were $2.9 million in the quarter ended September 30, 2022, compared to $4.4 million for the same period in 2021. The $1.5 million
decrease is due to lower costs related to the manufacturer of LUMRYZ and lower compensation costs.

SG&A expenses were $14.1 million in the quarter ended September 30, 2022, compared to $21.3 million for the same period in 2021. The decrease
is a result of a number of factors, including lower cost of marketing, compensation, medical affairs and consulting fees.

Net loss for the third quarter 2022 was approximately $20.1 million or $0.33 per diluted share compared to net loss of approximately $22 million
or $0.38 per diluted share in the same period in 2021. I will now turn the call back to Greg for closing remarks.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Thank you, Tom. To wrap up, being approximately 7 months away from the backstop date on which we expect to receive a final approval decision
for LUMRYZ and a potential launch shortly thereafter, we are focused on executing the most important priorities that offer us the opportunities to
both accelerate a final approval decision and shorten the time between approval and launch.

Receiving tentative approval for LUMRYZ is a significant derisking element to our mission and our overall value proposition as a company, which
is further supported by all of our customer insights and stakeholder feedback, which continue to demonstrate the significant opportunity for
LUMRYZ to command a meaningful share of the $3 billion plus 1 at bedtime oxybate market. We will remain relentless in our efforts to fully realize
the value of LUMRYZ for all stakeholders, including patients, prescribers and investors.

We thank you for your support, and we look forward to providing future updates on our progress. With that, we will open the call for questions.
Operator?




QUESTIONS AND ANSWERS
Operator
(Operator Instructions) And your first question comes from the line of Francois Brisebois from Oppenheimer.


François Daniel Brisebois - Oppenheimer & Co. Inc., Research Division - MD & Senior Analyst
Congrats on the progress here. So just a quick couple of ones here. In terms of building out the REMS, can you just maybe help us understand what
challenges can come up when you build out REMS? Why it might be straightforward, why it might not be. Just a little more color around that.

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Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes, Frank, it's Greg. Thanks. I would describe it really in 2 steps. There's a technology component to this and an infrastructure required to actually
execute and do the necessary work to ensure safe use, that the REMS program is designed from an IT infrastructure, programming and whatnot.

And then there becomes a second piece of that, which is staffing it as you get -- fully staffing it as you head toward a final approval and a subsequent
launch. So again, we partnered with a leading very experienced REMS provider who has great experience with controlled substances. And so from
that standpoint, the execution of our build-out to date which again is expected to be completed from an operational standpoint before the end
of this calendar year is on track.

We'll clearly, as we head toward a final approval, begin to staff up the necessary resources to operationalize it. But the underlying, if you will,
components of it, will be done well in advance.


François Daniel Brisebois - Oppenheimer & Co. Inc., Research Division - MD & Senior Analyst
Okay. Great. And then in terms of the store data, you guys keep showing some good data on it. Is there -- is that data useful or important for the
payers from the payer's perspective in terms of reimbursement?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Well, maybe I'll let Richard comment on that.


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Frank, thanks for the question. Yes. The great thing is we're really blessed with a bank of full range of clinical data that Jennifer and her team have
actually produced from both -- from Reston and now the posters from the store. So I would say everything has been very useful with the conversations
with payers and as we get into more in-depth conversations, the fact that 94% of patients, when previously being on a twice nightly prefer to be
on the once nightly formulation, I think, bodes well. So in short, the answer is yes, Frank, we'll absolutely leverage that in the appropriate payer
settings going forward as well.


François Daniel Brisebois - Oppenheimer & Co. Inc., Research Division - MD & Senior Analyst
Okay. Great. And then I just -- sorry, last question. I feel like I have to just ask about it here. The -- in terms of the Delaware hearing on the 15th here,
so next week. Can you just kind of maybe walk us through the potential, although it's hard to say, but the potential outcomes in terms of time
lines? Or is a decision made do you expect it to be made on the bench? And if not, if the decision is in your favor what does that mean in terms of
next steps here? Just to get a better feel for what can happen on the timeline?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. I think to describe that situation kind of at large and how we view it is we're not going to speak obviously to the specifics of the litigation, just
not -- it's not what we do.

But from a process standpoint, we were pleased that after the claim construction hearing that the Delaware Court decided to grant our request
for an expedited hearing on this motion to the list, which as we noted, is next Tuesday. And what will be argued by both sides will be -- should this
patent be listed in the orange book. That will be a major part of that hearing.




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And for reference purposes, all of the documentation, all the briefings from both parties work on this specific matter were completed by the end
of August. So it's been a brief fully for quite some time. So on Tuesday, will be the chance for both sides to issue their -- argue their size, respectively.
The outcome of that, we would expect to be 1 of 2 things.

The court will either agree with us that, that patent is not Orange Book listable because of the nature of that patent or won't agree with us. If he
agrees with us, that the court agrees with us, then we would certainly go down the path of -- expect it to go down the path of a request to have
that patent delisted, and we would immediately begin our work to transition from a tentative approval to a final approval decision. So in this case,
there will be 2 steps.

It will be a delisting required and then subsequent to that will be the FDA's final approval decision in terms of timing and how and when that will
occur, will the judge rule from the bench or not? We have no insight from that perspective. We're just pleased that he's granted our expedited
request for the hearing and look forward to Tuesday's meeting.


Operator
Your next question comes from the line of Ami Fadia from Needham.


Ami Fadia - Needham & Company, LLC, Research Division - Senior Analyst
Firstly, I wanted to understand how you're thinking about sort of coverage of FT218 in the context of the possible entry of generic Xyrem early next
year as well as how you're thinking about contracting with payers. Can you give us some color around some of that dynamic there? And how are
payers thinking about or what feedback have you received from peers with regards to the potential of patients from Xyrem or Xyway switching
on to FT218 in the future? And I have more questions later.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Richard, do you want to take that?


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Yes, sure. No, great questions. Thank you. First, it's been just great for the team to be out in front of the payers again, one-on-one meetings also
this fall, the PCMA and AMCP meetings.

Overall, our basic strategy, as we've stated several times, has been to really seek parity coverage compared to the branded oxybate as well. And
when we think about our conversations with the payers. Well, first and foremost, we've always assumed generics and authorized generic will be
in the market by the time we launch. And the general feedback that we sort of hear from the payers is they're really treating the -- at least the
authorized generic is really more of a brand extension.

Most people are predicting that it will be priced similar to other authorized generic potentially in about a 15% price discount range. compared to
the branded. But also keep in mind that Z Rem is currently priced about 8.5% more expensive than Xywav.

So our overall strategy, once again, is really more parity. So when we think about our sort of contracting sort of philosophy, first and foremost,
we're going to be going through what others haven't, which is contracting directly with the 3 GPOs before we launch. So we're well under our way
with our conversations across the 3 major GPOs. And what I can sort of say is I think the feedback has been really positive.

They've sort of had -- oxybate have had really no competition for 20 years. So the fact that there's another branded compound coming to marketplace,
I think the payers have really enjoyed the conversation. I mean we're not naive. We know that they want to leverage us in their conversations. But


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the 1 thing I'll say the team has done an excellent job of -- it's also really conveying our clinical value proposition across the board as well. So we
feel like we're in the right place where we need to be with the payers right now.

And we're really sort of impressed with the progress that we've made so far with the GPOs and also the PBMs around the downstream coverage
decisions is later. So we really think we're sort of right in the right sweet spot right now with where we should be with the payers today.


Ami Fadia - Needham & Company, LLC, Research Division - Senior Analyst
Great. And my second question is can you help us sort of set expectations for how to think about the ramp next year? Let's just assume for that
purpose, but it will be some time after June. So in that context, 2 things I wanted to understand better. How long would it take to really get the
rents up and running? -- given that you have to wait until approval to start to seek sort of physicians to sign up and get familiarized with the new
processes. And adopt us coming from? Would it be a be or (inaudible).


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. So I think on the first question, we don't view the actual REMS build out to be a rate limiter in terms of impacting our time line post an approval.
We certainly will be actively engaging with physicians post and approve.

We certainly can engage with physicians on REMS to register them, so on and so forth until after a final approval for sure. But we don't view that
as a significant rate limiter relative to our timing from an approval to a launch. What at 1 point previously was going to be upwards of 6 months,
we've significantly condensed that down given the work that's been done to date and will continue to be done prior to a final approval decision.
And Ami, I'm sorry, your second question regarding REMS that you had the question on, could you just restate?


Ami Fadia - Needham & Company, LLC, Research Division - Senior Analyst
The second part on REMS was how long do you think it would take for physicians to familiarize themselves with the new processes or sort of the
form that needs to be filled to send a patient to your sort of patient support hub.

The other question I had was just around where do you see early adopters coming from, whether it would be from Xyrem or (inaudible)?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. Richard, do you want to take that question?


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Yes. So maybe first, as far as sort of the timing for the physicians. Obviously, rent certification is really a critical component to make sure that we
have the right and appropriate use of our products. But it's not a really laborious process.

People in essence, really familiarize themselves to the PI and some training on board. So it shouldn't take very long. And it's not dissimilar to what
has been done in the past, but clearly, we have our own unique label. So we don't see that as really a long process on me. And as far as sort of where
do we see the sources business coming from. From our market research that we've just done this latest wave, the candid answer is pretty much all
segments of of prescribers and types of patients.

Clearly, there's a lot more familiarity with current high oxybate prescribers, but we see from our research that both Xywav and Xyrem patients are
very interested in learning more about LUMRYZ as well. And we've also sort of seen a bit of a tapering of Xywav uptake in the marketplace as well.
So we see great opportunities as Iowa patients tend to be more motivated for earlier doctors as we've done seen from our market research.


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And for the Xyrem patients, our value proposition is probably even more -- is very clear for them as well. So we're going to be focusing our initial
efforts really on the high users within the marketplace will clearly support all users. But at the end of the day, when our research continues to sort
of show is we have great opportunities within the current oxybate prescribers. There are high volume, the low volume ones.

And what was really interesting for us to sort of see in this latest wave of market research is for current narcolepsy prescribers who don't use oxybate,
almost half of them said they would want to prescribe Bloom rise when it becomes available as well. So we'll sort of time those out over the first
stages of launch. But we're just really delighted to sort of see that the LUMRYZ value proposition comes across very clearly to all of our segments
that we're trying to speak to.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. The only thing I would add to Richard's comment, Ami, is that these 30,000 to 35,000 patients that we've described in these 3 segments, they
really predominantly fall within that highly concentrated source of business, the 1,600 physicians that make up 80% of that volume. It's all within
that same group from that standpoint. So as Richard referenced is kind of the high oxybate users, it is a very concentrated opportunity for us where
the lion's share of our opportunity exists. So thank you.


Operator
And your next question comes from the line of Chris Howerton from Jefferies.


Christopher Lawrence Howerton - Jefferies LLC, Research Division - Equity Analyst
I guess 2 for me would be with respect to the ongoing RESTORE study, could you give us a sense of the durability that you're seeing of patients on
LUMRYZ and just how that might translate to persistency on the commercial market. And then I appreciate all the kind of discussion with respect
to launch readiness. Could you give us a little more understanding in terms of what specifically you expect your commercial team to look like? And
maybe a little bit more about the distribution and timing of hiring for that team.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. Thanks, Chris. Jen, do you want to start on RESTORE?


Ami Fadia - Needham & Company, LLC, Research Division - Senior Analyst
Yes, absolutely. Chris, thank you for the question. So just to level set, the RESTORE study began in March of 2020, obviously, coinciding with when
the pandemic started.

What we put out this October is that we've had about 27% of participants discontinue in this study. So being open label and the fact that these
participants are having to travel to the clinical trial site once a month to pick up their medication because it is a Schedule 1 until the point of
approval, we're not surprised by that rate of discontinuation.

In fact, I could have understood if it were higher with the requirement to travel to those sites on a monthly basis. I think what we're most pleased
about is that there's a very low rate of discontinuation due to adverse reactions. In October presentations, we had noted that it's about 5% of
participants who have discontinued due to adverse events. And we know that tolerability can be one of the biggest challenges with taking any
oxybate formulation.




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Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Thanks, Jen. Richard, maybe you can just kind of frame up kind of the commercial team we'll be building toward?


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Yes, super. No, thanks for the question, Chris. So first, as we've mentioned previously, we retained some of our key skill sets so that we could
obviously keep our momentum going for our launch readiness here.

Overall, what we've sort of stated is our goals to have somewhere around 50 sales representatives out there. As Greg had mentioned, there's 5,000
prescribers, 1,600 make up 80% of the volume. So we know that we can cover all of those prescribers with that sales team.

We also will have other key field members such as our field reimbursement team that we will have out there as well. We have -- as mentioned, we
have just begun hiring some folks back into the mix here as well. And what we'll be building backwards from is sort of that backstop of that June
approval date. But obviously, we're trying to remain flexible depending on where some of the hearing outcomes become as well.

So the buildup has begun in a very targeted way. but we're going to make sure that we're ready to peak at the latest for a June approval of next
year.


Christopher Lawrence Howerton - Jefferies LLC, Research Division - Equity Analyst
Awesome. And Greg, do you mind if I maybe sneak in 1 more follow-up?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Go ahead, Chris.


Christopher Lawrence Howerton - Jefferies LLC, Research Division - Equity Analyst
Okay. Great. And Tom, I'm really happy to see that you purchased some of the notes that were due in February, I guess. Is that still kind of the plan
to be potentially opportunistic for those notes that are still outstanding? Or any additional comments you want to make around the strategy there?


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
Yes. No, it is opportunistic in nature, Chris, and we had a good opportunity to buy some dose back at a discount. Our commentary in the last couple
of months is that our assumption with regards to cash runway is that the notes that come due in February need to be settled in cash anyway. So
we were able to just accelerate the purchase a little bit and save some money along the way.


Operator
Our next question comes from the line of Adam Evertts from LifeSci Capital.


Adam Gerald Evertts - LifeSci Capital, LLC, Research Division - Senior Research Analyst
Great. One sort of clarification for me. On the survey data mentioned by Richard on this call, is that a new survey or additional details from prior
surveys? And I guess either way, do you expect to present those data at a medical meeting or other format in 2023?



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Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. It's new research. We're constantly updating and refreshing our understanding of the market. So this is some data from a very, very recent
large quant study that Richard referenced. And I don't know if we'll present that specific data in a scientific congress, but we'll certainly continue
to provide some of these insights and learnings as we go forward. both in these sorts of events and then potentially at a future kind of prelaunch
commercial day.


Operator
Your next question comes from the line of Marc Goodman from SVP.


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Greg, first, just on the legal stuff. If the Delaware Court next week gives you a negative outcome, right, the patent should be listed, then is there
anything left? I'm trying to remember if there are any other issues that you could do? Or is that it we're waiting until June?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. I think that's the primary -- depending on the ruling next -- whenever it occurs after next Tuesday, the base case assumption is June 17 expiry
in an approval decision post that. .

Otherwise, whatever happens next week will either give us an opportunity to bring that up a little earlier potentially depending upon timing. And
otherwise, as Richard described, we're operating toward the base case of June.


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Right. I'm just saying like the administrative process that got thrown out, this is the result of the Markman hearing. So basically, like this is it, right?
I mean if it goes negative, Okay. We'll just go to that scenario where it's June, right? There's nothing else that you're going to do legally.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. There's no other legal matters, if you will, pending that could react or result in something sooner. Correct.


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Right. Okay. Good. And then just to be clear, on the positive outcome, it's unclear if we figure out right then and there next week if it's a positive
view or if it takes what do you think it could be a couple of weeks. It could take a month? How long do you think this judge is going to take? .


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
It's really too difficult to predict, I would say. It would be inappropriate from that standpoint. We're pleased that after the claim construction hearing
on October 25, it was only 3 days later that he decided to grant us our request for this expedited hearing.

So again, we believe the court understands the matter quite well and the urgency that we've expressed accordingly and are glad the hearing is
less than 7 days away from now.


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Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Got it. Okay. And then, Tom, just on managing through with the finances, I guess, number one, have you tapped the ATM at all? Don't you have
that ability?


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
Yes, that's right, Marc. And what we -- it's in our 10-Q, we raised about a little over $10 million during the third quarter from sales off the ATM. But
if we -- that is a no. That's right.


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Right. And so is that included in the 106.5?


Christopher Lawrence Howerton - Jefferies LLC, Research Division - Equity Analyst
It is, yes. .


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
Okay. And then I'm sorry, I just I didn't catch the date. When did you buy the $9 million in the open market for the convert?


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
It was over the course of the third quarter. So there was no single purchase was...


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
The convert was a recent purchase.


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
No, the note. My apologies, Marc. No, we repurchased the notes in the open market just earlier this month actually, it was just about a week ago.


Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
I see. Okay. And how have discussions been with the convert holders in general? I mean I would -- I guess rates have really backed up pretty darn
quickly. So what's been the discussions like?


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
Listen, I think I would characterize them as constructive. We haven't done any formal engagement with the convertible note holders. I think they,
like us, are being deliberate in our approach. We want to see how this next legal proceeding plays out for the hearing next week before making
decisions on what to do. But I would generally characterize our discussions as constructive.



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Marc Harold Goodman - SVB Securities LLC, Research Division - Senior MD of Neuroscience & Senior Research Analyst
And have you, as a management team, also been in discussions potentially with doing some type of royalty deal? Have those discussions started
as well? And is everything kind of hinging on waiting to next week before anything moves forward? .


Thomas S. McHugh - Avadel Pharmaceuticals plc - Senior VP & CFO
Yes, fair question, Marc. And over the last several months, we've been really consistent in our thinking and our communications that we do want
to see how these -- the legal things played out. Of course, we know how the DC 1 played out and we have Delaware coming up next week. We're
looking at all options. And the time to execute and the form of finance we may pursue. It's -- I wouldn't necessarily say that the legal proceeding
is a gating item to us, but we do want to see how it turns out because a favorable outcome, of course, just puts us in a better position.

And as Greg noted earlier, a decision that's not in our favor puts us to a base case and a planning time line of June of next year towards an approval
decision.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. And I would add, Marc, that -- just I would just add, Marc. We've been quite -- I would say a couple of things.

One, we've been very prescriptive in our thinking about financing the company and the launch. And this -- and the notion and the consideration
of a form of committed capital that comes upon the approval and upon the launch for us with over $100 million of cash on hand is every bit as
valuable as cash in the balance sheet today. So we've had extensive discussions with a number of parties who do think -- could potentially be
sources of that sort of committed capital in the future upon the advancement in progress of the NDA to a final approval.

So again, I don't want to send the message that we're just waiting for after the hearing. Like we've done a lot of work to put ourselves in a position
to begin to execute coming out of next week or whenever that ruling is and recognizing that the time lines between an approval decision after
next week, if it goes in our favor or in June of next year, have become compressed a little bit and have begun to converge on themselves.

So we're actively involved in solving how we fund the company at launch and through the lens of what's in the best interest of our shareholders
for sure.


Operator
And your next question comes from the line of Matt Kaplan from Ladenburg Thalmann.


Matthew Lee Kaplan - Ladenburg Thalmann & Co. Inc., Research Division - MD & Head of Healthcare Equity Research
I just wanted to zero in on the kind of the sodium oxybate narcolepsy, cataplexy market dynamics that you're seeing and hearing out there after
attending these meetings recently in discussions with payers, PBMs.

What's your sense in terms of the impacts of and what's going on with the low salt, twice-nightly product out in the marketplace? And I guess,
secondly, you mentioned kind of the 3 components of the 30,000 patients. What's your sense in terms of being able to expand the sodium oxybate
market after full approval and a launch?




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Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Thanks, Matt. Richard, do you want to take that?


Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Yes, sure. Thanks, Matt. So first, as far as the payers are concerned, they're very on top of what's been going on in the marketplace. And as I mentioned
before, we've had really great conversations with them.

Maybe 1 sort of thing I can add that I didn't mention before is when payers are thinking about sort of switches, how to look at AGs, one of the
benefits that we have coming to this marketplace of that sort of more than 30,000 patients that have been treated, the vast majority have already
been exposed to an oxybate.

So we're very confident that payers will acknowledge that they've already experienced an oxybate before, which bodes very well for us even in
light of an AG or anything coming to the marketplace.

So overall, as far as the payers are concerned, we think we're very well positioned. And as we think about where the market will expand, what we've
learned from this market research that we did most recently is there's still quite a few patients that are viewed to be oxybate eligible who are not
receiving oxybate, probably greatest within low oxybate users currently and non oxybate users, clearly.

So we a see opportunities there for them to just prescribe to patients they've already identified and clearing the opportunity longer term is to get
more de novo patients into the mix here as well.

What we sort of see from our research is from this latest round is that the market should grow by at least 50% with the introduction of LUMRYZ in
the marketplace with once again, the largest percentage growth coming from lower users who probably have really struggled with the proposition
of twice-nightly oxybate in the past.

So the good news is we see growth opportunities within the high oxybate users still but maybe even a higher percentage of growth opportunity
from lower and clearly getting some nonprescribers into the mix as well.


Operator
(Operator Instructions) Your next question comes from the line of Chase Knickerbocker from Craig Hallum.


Chase Richard Knickerbocker - Craig-Hallum Capital Group LLC, Research Division - Senior Research Analyst
I just want to put a finer point on some of the questions Chris asked around the ramp of your commercial capabilities, what specifically has been
added in this first tranche of hiring, I guess, you mentioned on the call, some key field personnel on the MSL side. Is it some of the management
around sales capabilities?

And I guess, assuming base case of June approval, how should we think about the ramp of sales personnel hiring? Richard, what kind of time frame
do you want most of the reps on board to be able to really get them trained up in preparation for launch?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Thanks, Chase. Richard, do you want to start?




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Richard Kim - Avadel Pharmaceuticals plc - Chief Commercial Officer
Yes, sure. So yes, we -- just a couple of areas that we have focused in on the initial wave is we have hired a new head of sales so that we can get the
framework for the sales force going -- and we've also selectively added some more of our payer resources as well with where we are in our
conversations with the GPOs and the PBMs as well.

So we'll be sort of selectively adding to a few places, clearly balancing sort of the financial sort of situation with our need to grow. But once if you
think backwards to June, our goal is to really peak at the right time. And with the fact that we've now compressed the time from a final approval
potential decision in June, to a 3Q launch, our goal is to bring on a lot of our field force before that approval time line as well because we want to
make sure that they are familiar with the territory, with their customers and everything as well. So we continue to sort of balance the need we're
sort of in a position to be able to pull that off.

But as Greg and Tom have mentioned, also still balancing sort of where we may wind up with some of the proceedings from both legal in the
financial raises as well. So I feel right now we're in a really good spot. The great news is there's been a lot of interest in people wanting to come join
Avadel.

So with the folks that we've retained and kept here, and our plans around building out once again, our goal is to really peak at the right time to
sort of be ready for that June backstop date.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. I think, Chase, I would just add to that, that we've got a really kind of disciplined approach and a detailed plan of how we build toward a June
decision and then a launch thereafter. And then how do you pull that up if you have any -- in the event there's good news and that decision come
sooner, right, from that standpoint.

So again, I think it's all mapped out. We know where kind of things that got -- that are longer kind of poles in the tent that require more work leading
up into those days, and those are the roles that Richard noted that we'll bring on board. So I appreciate the question.


Chase Richard Knickerbocker - Craig-Hallum Capital Group LLC, Research Division - Senior Research Analyst
Yes. Helpful color. And then just 1 last for me, if I could. Around a potential positive outcome if we make that assumption, being at its -- we're sitting
in November now. I mean what does it accelerate your kind of thinking on potential approval with those extra regulatory matters and getting the
patent deal less that needs to happen in your thoughts, what is it kind of due to accelerate approval now that we're in November.


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. Again, I think there's 2 steps to that process. The first is getting a decision from the court and then that results in the delisting and then the
FDA making a final approval decision that we obviously would be working to want to have done as soon as possible from that standpoint.

But any sort of positive momentum that create -- that moves us in that direction earlier than June is just upside from our standpoint, recognizing
that we're only 7 months away. So I think that we've noted that the time lines have converged a little bit from that standpoint as the cases in
Delaware have slipped a little bit, but we're certainly pleased that this important hearing is taking place next week from that standpoint.

I think ultimately, it really is a function of the difference between launching, as we've said kind of in Q3, if we go to June and launching before that.
If we if a decision and approval comes sooner. And any launch earlier, quite frankly, is better, simply put from that standpoint.




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Operator
Your next question comes from the line of Paul Matteis from Stifel.


Unidentified Analyst
This is James on for Paul. Maybe just a quick clarifying 1 on DEA scheduling. I guess, can you remind us the latest there? And is there anything that
needs to happen there post full approval? And would that be kind of gating to any other kind of prelaunch activities that need to recur?


Gregory J. Divis - Avadel Pharmaceuticals plc - CEO & Director
Yes. Thanks. There's -- first of all, Congress has already determined what the scheduling requirement of sodium oxybate or oxybate product is a
Schedule III. So anything that has to happen administratively whether it be from DEA related or whatnot, isn't a rate limiter relative to us coming
to market from that standpoint.

It's not -- it's all contemplated in our consideration of timing. If we had an approval after June 17 and an expectation that we would launch therefore
in Q3, we'll be -- certainly be ready to launch in Q3, that contemplates any of those sorts of matters.


Operator
And there are no further questions at this time. This does conclude today's conference call. We thank you for your participation, and you may now
disconnect.




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